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                     EXHIBIT 7
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  From: Preston Haliburton prestonhaliburton@gmail.com
Subject: Re: ORR
   Date: January 9, 2021 at 7:11 PM
     To: Misty Hampton misty.hampton@coffeecounty-ga.gov

       Thank you.

       Just seeing this. Will call your city attorney monday. I think Bob Cheely maybe getting court orders which is probably the best route as
       always want go proper legal means. Thank you and God Bless.

       On Thu, Dec 31, 2020 at 9:06 PM Misty Hampton <misty.hampton@coffeecounty-ga.gov> wrote:

         Please see the attached and please let me know if you need anything else. My contact information is 912-850-4823

         Thanks and Happy New Year
